
SAMUEL, Judge.
The appellant did not make an appearance when this case was regularly called for argument, nor has he filed a brief herein. The appellee alone has appeared and lie has submitted the case and moved that the judgment be affirmed.
Since the appellant has not pointed out any error in the judgment of the lower court, that judgment may be affirmed under the presumption that it is correct. Delpit v. Delpit, 1957, 232 La. 539, 94 So.2d 660; Perkins et al. v. Buchler et al., 1953, 223 La. 179, 65 So.2d 130; Succession of Bailey, 1957, 232 La. 824, 95 So.2d 326.
We have examined the record and find no error patent on the face thereof.
For the reasons assigned, the judgment appealed from is affirmed, appellant to pay all costs.
Affirmed,
